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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           JACKSON DIVISION

UNITED STATES OF AMERICA

VS.
                                    CRIMINAL NO. 3:94CR129-TSL

STANLEY ASIBOR

                         ORDER REDUCING SENTENCE

      This cause is before the court on the defendant’s motion for

reduction of sentence (docket no. 253), filed on Asibor’s behalf

by the Federal Public Defender.1       The government opposes any

reduction which is not within the upper 15 percent of the

recalculated guideline range, and adds that the new sentence

should be ordered to run consecutively to a 57-month term of

imprisonment which Asibor received for illegal reentry.             Having

considered the parties’ submissions, the court concludes that the

motion for reduction will be granted to the extent as follows:

      (1) Defendant’s sentence as to his conviction for

      possession with intent to distribute cocaine base is

      reduced from 205 months to 162 months;2

      (2) All other terms and provisions of the original

      judgment remain in effect, including defendant’s 57-

      1
          On March 3, 2008, Asibor filed a pro se motion for
reduction of sentence (docket entry no. 251). This motion will be
denied as moot.
      2
          The parties agree that the new guideline range for
defendant is 135 to 168 months. At the time of his original
sentencing, the guideline range applicable to his conviction of
possession with intent to distribute cocaine-base was 168 to 210
months.
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     month consecutive sentence which resulted from his

     conviction for illegal reentry by an alien.

     A copy of this order shall be transmitted to the Bureau of

Prisons immediately.

     SO ORDERED on this the _7th_ day of July, 2008.


                     _/s/ Tom S. Lee____________
                     UNITED STATES DISTRICT JUDGE




                                    2
